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[31713A] [Notice of Hearing]



                                         UNITED STATES BANKRUPTCY COURT
                                            MIDDLE DISTRICT OF FLORIDA
                                              JACKSONVILLE DIVISION

In re:                                                                          Case No. 3:09−bk−07047−JAF
                                                                                Chapter 11


Taylor, Bean & Whitaker Mortgage Corp.




________Debtor(s)________/


                                             AMENDED NOTICE OF HEARING

                      This Notice of Hearing is being amended to correct the date and time of the hearing.

   NOTICE IS GIVEN that an evidentiary hearing in this case will be held in 4th Floor Courtroom 4D, 300 North
Hogan Street, Jacksonville, Florida, on September 11, 2009 at 10:00 a.m. , to consider and act upon the following
matter:

                                     Motion for Relief From Stay filed by Sovereign Bank

     and transact such other business as may properly come before the hearing.

    1. All exhibits must be pre−marked and listed in accordance with Local Rule 9070−1.

    2. The hearing may be continued upon announcement made in open Court without further notice.

  3. Any party opposing the relief sought at this hearing must appear at the hearing or any objections or defenses
may be deemed waived.

   4. Appropriate Attire. You are reminded that Local Rule 5072−1(b)(16) requires that all persons appearing in
Court should dress in appropriate business attire consistent with their financial abilities. Among other things, a coat
and tie are appropriate for a man; a dress or pants suit is appropriate for a woman.

    5. Due to heightened security procedures, persons must present photo identification to enter the Courthouse and
arrive early.

           Dated August 31, 2009.


                                       Lee Ann Bennett, Clerk of Court
                                       300 North Hogan Street Suite 3−350
                                       Jacksonville, FL 32202

           Copies furnished to:
           Debtor
           Debtor(s)' Attorney
           Trustee
           US Trustee
           Movant
           L.R. 1007(d) List of 20 largest unsecured creditors
